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            Case 2:21-cv-03056-DSF-PD
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                                                          Document 31 Filed 04/13/21 Page 1 of 34 Page ID #:253
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Date: Apr 13 2021, 9:21 am
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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA




                   JUUL LABS, INC.,                                     CV 21-3056 DSF (PDx)
                       Plaintiff,
                                                                        Order GRANTING Plaintiff’s
                                                v.                      Ex Parte Application for Asset
                                                                        Freeze Order, Expedited
                   ANDY CHOU, et al.,                                   Discovery, Order Authorizing
                       Defendants.                                      Alternative Service of Process,
                                                                        Order to Show Cause Re:
                                                                        Preliminary Injunction (Dkt. 5)


                        Plaintiff JUUL Labs, Inc. (JLI) seeks an asset freeze order,
                  expedited discovery, an order authorizing alternative service of process,
                  and an order to show cause why a preliminary injunction should not
                  issue against Defendants Andy Chou (aka Lizhi Zhou), Yiwu Cute
                  Jewelry Co., Ltd., Yiwu Xite Jewelry Co., Ltd., CJ Fulfillment Corp., CJ
                  Trade Corp., and Yiwu Promotional Trade Co., Ltd’s (aka Yiwu
                  Promotion Trade Co., Ltd.). Dkt. 5. Because JLI moved ex parte,
                  requesting that no notice be provided and because the Court grants the
                  request, Defendants have not submitted opposition. The Court deems
                  this matter appropriate for determination without oral argument. See
                  Fed. R. Civ. P. 78; Local Rule 7-15. For the reasons set forth below,
                  JLI’s application is GRANTED.

                                                             I. BACKGROUND

                  A.         JLI and the JUUL Products

                       JLI is a global leader in offering an alternative to traditional
                  combustible cigarettes. JLI designs, manufactures, and distributes
                  JUUL-branded electronic nicotine delivery systems (ENDS) and related
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    products. See dkts. 10, 11 (Decl. No. 1) ¶¶ 7-8. The JUUL Device is a
    rechargeable inhalation apparatus designed to be exclusively used with
    JLI’s prefilled pods (JUULpods). Id. ¶ 14. JUULpods are individual
    disposable cartridges filled with JLI’s proprietary nicotine e-liquid
    formulations and contain a heating chamber. Id. JUULpods are
    designed to be inserted directly into the JUUL Device. Id. The USB
    Charging Dock is an individual charging dock designed specifically for
    the JUUL Device and related accessories. Id.

           According to JLI, all JUUL Products are designed to meet
    industry standards for safety, quality, reliability, and performance. Id.
    ¶ 15. JLI practices stringent quality controls to guarantee consistent
    quality, safety, and performance for each of its products. Id. ¶ 16. JLI
    conducts quality control tests on JUUL products in their totality and on
    component parts. Id. JLI also conducts regular visits to and audits of
    its suppliers’ factories to ensure strict product standards. Id. ¶ 17. In
    the United States, JLI sells its products online and through its
    authorized network of distribution partners. Id. ¶ 18. JLI ensures its
    distribution partners meet its standards and will only pre-approve
    authorized vendors if they do so. Id.

          JLI owns the following well-known and registered trademarks for
    use in connection with 1) e-cigarettes, 2) e-cigarette refill liquids and
    cartridges, and 3) nicotine-based liquid and cartridges, and that appear
    on genuine JUUL Products:

                • “JUUL” (U.S. Trademark Reg. No. 4,818,664);

                •         (U.S. Trademark Reg. Nos. 4,898,257);


                •          (U.S. Trademark Reg. No. 5,770,541);

                • “JUUL LABS” (U.S. Trademark Reg. No. 5,776,153);

                • “JUULPODS” (U.S. Trademark Reg. Nos. 5,918,490);

    Dkts. 12, 13 (Decl. No. 2) ¶¶ 9, 11, Ex. B. JLI also owns the following
    well-known and registered trademarks for use in connection with 1)



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    carrying cases, and 2) adapters and battery chargers for e-cigarettes,
    and that appear on genuine JUUL Products:


                •            (U.S. Trademark Reg. No. 6,064,902); and

                •        (U.S. Trademark Reg. Nos. 6,211,614).

    Id.

            All of these marks together are referred to as the “JUUL Marks.”
    JLI has used the JUUL Marks continuously in commerce, including in
    connection with its sale of the JUUL Device, JUULpods, and USB
    Charging Dock. Id. ¶ 10. JLI prominently displays the JUUL Marks in
    all of its promotional materials; the JUUL Marks are also prominently
    displayed on all product packaging. Id. ¶ 12. As a result of JLI’s
    significant investment in marketing efforts featuring the JUUL Marks
    and JLI’s marketplace success of the JUUL brand, the JUUL Marks
    are widely recognized and have become well known to the public. Id.
    JLI asserts that due to its longtime use of and investment in the JUUL
    Marks and the quality of JLI’s products, the JUUL brand has built up a
    tremendous amount of consumer goodwill. Id. ¶ 13. The JUUL Marks
    symbolize the business goodwill of JLI and are invaluable assets to JLI.
    Id.

    B.    Discovery and Testing of Counterfeit JUUL Products

          The success of the JUUL brand has attracted criminal
    counterfeiters who illegally profit by selling fake JUUL Products. To
    combat this, JLI investigates suspicious listings of purported JUUL
    Products for sale online. Dkts. 12, 13 (Decl. No. 2) ¶¶ 5, 7. JLI found
    Defendants advertising and offering for sale “JUUL Starter Kits”
    online, which included the following purported JUUL products: (a)
    JUUL Device; (b) USB Charging Dock; and (c) four JUULpods in Cool
    Mint, Virginia Tobacco, Crème Brulee, and Mango flavors. Id. ¶ 8.
    Notably, in the U.S., JLI has not sold JUUL Starter Kits that include
    four JUULpods since November 2018, raising a red flag that these
    products were likely counterfeit. Id.



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           JLI arranged for an investigator to buy the suspect JUUL
    Products from Defendants, and the products or photographs of them
    were then sent to JLI for analysis. See id. ¶¶ 7, 9, 11, 13, 15-16; dkts.
    14, 15 (Decl. No. 3) ¶¶ 5, 7, 25, 34, 40; dkts. 16, 17 (Decl. No. 4) ¶¶ 4-12.
    JLI’s Evidence Specialist, who is responsible for inspecting and
    authenticating suspect JUUL Products to determine whether they are
    counterfeit, evaluated the products and determined that each was, in
    fact, inauthentic. Decl. No. 2 ¶¶ 3, 5, 17-18.

         First, on October 7, 2019, JLI’s investigator ordered three silver
    and two pink JUUL Starter Kits and five USB Charging Docks, which
    were delivered to the investigator on November 7, 2019, who forwarded
    them to JLI in January 2020. Id. ¶ 13; Decl. No. 3 ¶¶ 14, 17-18, 25.
    Each of the JUUL Starter Kits contained a JUUL Device, a USB
    Charging Dock, and JUULpods in Cool Mint, Virginia Tobacco, Crème
    Brulee, and Mango flavors. Decl. No. 3 ¶ 22. The exterior and interior
    packaging of each suspect product, as well as the JUUL Devices
    themselves, each bore one or more of the JUUL Marks, as shown below:




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    Decl. No. 3 ¶¶ 19-20, 22; Decl. No. 2 ¶ 13. The packaging of each of the
    separate USB Charging Docks also bore one of the JUUL Marks as
    shown below:




    Decl. No. 3 ¶ 21.

          None of the suspect JUUL Devices had a serial number engraved
    on the back of the device below the JUUL logo. All authentic JUUL
    Devices have an engraved unique serial number. The foil packaging for



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    the suspect JUULpods did not have a lot code printed on it, which is
    inconsistent with authentic JUULpods. Id. ¶¶ 23-24; Decl. No. 2 ¶ 14.
    The packaging for the suspect JUUL Devices had an incorrect
    Universal Product Code (UPC). Decl. No. 2 ¶ 14. The exterior
    cardboard packaging for the suspect JUULpods showed lot code
    G0525A, but that lot code corresponded to a package of JUULpods that
    had been made by an authorized manufacturer and sold through an
    authorized retailer in 2018. Id. The font and spacing on the cardboard
    box packaging for the suspect JUUL Starter Kits, JUUL Device, and
    JUULpods differed from authentic JUUL products. Id. The foil
    packaging for the suspect JUULpods had a shiny metallic appearance,
    but authentic JUULpods have a matte appearance. Id. None of these
    suspect products were authentic JUUL products. Id.

          On April 8, 2020, JLI’s investigator ordered two silver, six pink,
    and five slate JUUL Starter Kits, which were delivered to the
    investigator on April 23, 2020; he forwarded them to JLI in June–July
    2020. Decl. No. 3 ¶¶ 27-28, 34; Decl. No. 2 ¶ 15. The exterior and
    interior packaging of each suspect product, as well as the JUUL
    Devices themselves, each bore one or more of the JUUL Marks, as
    shown below:




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    Decl. No. 3 ¶¶ 29-31; Decl. No. 2 ¶ 15.

          None of the suspect JUUL Devices had a serial number engraved
    on the back of the device below the JUUL logo. All authentic JUUL
    Devices have an engraved unique serial number. The foil packaging for
    the suspect JUULpods did not have a lot code printed on it, which is
    inconsistent with authentic JUULpods. Decl. No. 3 ¶¶ 32-33; Decl. No.
    2 ¶ 15. The packaging for the suspect silver and pink JUUL Devices
    had an incorrect UPC. Decl. No. 2 ¶ 15. The exterior cardboard
    packaging for the suspect JUULpods again showed lot code G0525A.
    Id. The font and spacing on the cardboard box packaging for the
    suspect JUUL Starter Kits, JUUL Device, and JUULpods differed from
    authentic JUUL products. Id. The foil packaging for the suspect
    JUULpods had a shiny metallic appearance; authentic JUULpods have
    a matte appearance. Id. None of these suspect products were
    authentic JUUL products. Id.

          On March 16, 2020, JLI’s investigator ordered another 100 JUUL
    Starter Kits to be shipped to Defendants’ warehouse in New Jersey, but
    this shipment was delayed because of Defendants’ concerns about
    ensuring their products got through U.S. Customs and because of
    COVID-related issues. Decl. No. 3 ¶¶ 36-37. On July 30, 2020, JLI
    received confirmation that the shipment had arrived. Id. ¶ 38. JLI
    arranged for another investigator, along with personnel from the U.S.
    Department of Homeland Security (DHS), to pick up the suspect JUUL
    Starter Kits from the warehouse, which they did on August 20, 2020.
    Decl. No. 4 ¶¶ 4-10. DHS kept most of these products; JLI’s
    investigator kept two samples, and then sent high resolution photos of
    one of the samples to JLI for analysis. Id. ¶¶ 13-14; Decl. No. 2 ¶ 16.

          The suspect JUUL Devices both had the same serial number
    engraved on the back, H4X6P2UF; authentic JUUL Devices have
    unique serial numbers, and JLI also found that the serial number did
    not match the lot code on the packaging. Decl. No. 2 ¶ 16. JLI has
    found this particular serial number on more than 100 counterfeit JUUL
    Devices uncovered through other investigations, id., suggesting that
    Defendants are part of a larger counterfeiting ring. Font and spacing


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     on the cardboard box packaging for the suspect JUUL Starter Kits,
     JUUL Device, and JUULpods differed from authentic JUUL products.
     Id. The foil packaging for the suspect JUULpods had a shiny metallic
     appearance; authentic JUULpods have a matte appearance. Id. None
     of these suspect products were authentic JUUL products. Id.

          To summarize, after ordering and receiving three shipments of
     suspect JUUL Products from Defendants, JLI confirmed that the
     products were clearly inauthentic in light of the differences between
     them and authentic JUUL Products, including:

           a. The JUUL Device has either no engraved serial number or
              multiple JUUL Devices have the same engraved serial
              number;

           b. The lot code on some of the suspect JUUL Device packaging
              does not match the serial number on the suspect JUUL
              Devices contained therein;

           c. Some of the suspect JUUL Devices have an incorrect UPC;

           d. Some of the foil packaging for the JUULpods has no lot code;

           e. The foil packaging for the suspect JUULpods has a shiny
              metallic appearance, but authentic JUULpods have a matte
              appearance; and

           f. The font and spacing on the packaging for the suspect JUUL
              Starter Kits, JUUL Device, and JUULpods differ from
              authentic JUUL products.

     Id. ¶¶ 17-18.

            Although Defendants appear to have stopped advertising and
     selling the purported JUUL Starter Kits, they are still advertising and
     offering for sale the JUUL USB Charging Docks at the following URLs:

           1. https://cjdropshipping.com/product-detail.html?id=78196280-
              D6E8-451F-8504-
              B95CA1C8C8C9&from=all&fromType=&productType=0



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           2. https://cjdropshipping.com/product-detail.html?id=E5767978-
              2624-4B6A-B13A-
              482DD42C7527&from=all&fromType=&productType=0

           3. https://cjdropshipping.com/product-detail.html?id=FC7BA5A2-
              2768-41C0-ADA1-
              D9AE943BC93C&from=all&fromType=&productType=0

     Dkt. 7 (Wilkins Decl.) ¶ 3, Ex. A.

     C.    Counterfeit JUUL Products Are Potentially Dangerous

           Defendants’ purported JUUL Products are confusingly similar to
     JLI’s genuine products. Defendants’ products are marketed and sold
     using, and bear counterfeit imitations of, the JUUL Marks, and are
     clearly designed to create the impression that they are authentic JUUL
     Products. These counterfeit JUUL Products are not manufactured by
     JLI or any party associated with, or authorized, licensed, or approved
     by JLI. Decl. No. 2 ¶¶ 3, 7-18; Decl. No. 1 ¶ 19. Defendants deceive
     customers by delivering inferior counterfeit products instead of
     genuine JUUL Products. Decl. No. 1 ¶ 20-23.

            The counterfeit JUUL Products sold by Defendants are
     potentially dangerous to users and those around them. Beyond being
     inauthentic, the functionality, performance, and safety of these
     products is unknown. Id. ¶ 20. JLI has no control over the design,
     manufacturing, and packaging of Defendants’ products and has no way
     of testing the safety of these products. Id. Defendants’ products are
     not subjected to JLI’s quality-control standards and testing. Id. These
     products may be manufactured with unknown foreign substances and
     materials that users and those around them are then inhaling and are
     otherwise exposed to. Id.

           Defendants’ conduct harms JLI’s customers who are deceived and
     receive counterfeit products that are at risk of being lower quality, less
     reliable, and less safe than the genuine JUUL products they expect. Id.
     ¶ 21. Defendants’ conduct also harms JLI because consumers and the
     public are likely to associate any negative or unsafe qualities of these



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     inauthentic products with JLI and the JUUL Marks. Id. ¶ 22. This
     damages the JUUL brand and reputation JLI has worked to build, and
     also deprives JLI of legitimate sales and revenue. Id. As a result, JLI
     suffers substantial and irreparable harm to its brand, image, likeness,
     business, and goodwill with the public. Id. JLI has encountered
     examples of counterfeit JUUL products that posed potential risks to
     consumers and clear risks to JLI’s and the JUUL brand’s reputation
     and goodwill. See id. ¶ 23.

                             II. LEGAL STANDARD

     A.    Ex Parte Relief

            A temporary restraining order (TRO) may be issued without
     notice to the adverse party if (1) “specific facts in an affidavit or a
     verified complaint” show that immediate and irreparable injury will
     occur before the adverse party can be heard and (2) the movant’s
     attorney certifies in writing what efforts were made to give notice and
     the reasons why notice should not be required. Fed. R. Civ. P. 65(b).

           The Ninth Circuit recognizes that issuance of an ex parte TRO is
     warranted where notice to the defendant would render further
     prosecution fruitless. “In the trademark arena, such cases include
     situations where an alleged infringer is likely to dispose of the
     infringing goods before the hearing.” Reno Air Racing Ass’n., Inc. v.
     McCord, 452 F.3d 1126, 1131 (9th Cir. 2006). An applicant can justify
     excusal of the notice requirement on this ground by showing “that the
     adverse party has a history of disposing of evidence or violating court
     orders or that persons similar to the adverse party have such a
     history.” Id. (quoting First Tech. Safety Sys., Inc. v. Depinet, 11 F.3d
     641, 651 (6th Cir. 1993)); Cisco Sys., Inc. v. Shenzhen Usource Tech.
     Co., No. 5:20-CV-04773-EJD, 2020 WL 5199434, at *6 (N.D. Cal. Aug.
     17, 2020) (plaintiffs relieved of giving notice to defendants where
     defendants were willfully advertising and selling counterfeit products
     online and were likely and able to dispose of evidence and dissipate
     assets given advance notice).




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     B.    TRO/Preliminary Injunction

            “A preliminary injunction is an extraordinary remedy never
     awarded as of right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,
     24 (2008). The standard for granting a TRO is essentially the same as
     for granting a preliminary injunction. See City of Tenakee Springs v.
     Block, 778 F.2d 1402, 1407 (9th Cir. 1985). “A plaintiff seeking a
     preliminary injunction must establish that he is likely to succeed on the
     merits, that he is likely to suffer irreparable harm in the absence of
     preliminary relief, that the balance of equities tips in his favor, and
     that an injunction is in the public interest.” Winter, 555 U.S. at 20.
     Although the moving party must make a showing on each factor, the
     Ninth Circuit employs a “version of the sliding scale approach” where
     “a stronger showing of one element may offset a weaker showing of
     another.” All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th
     Cir. 2011).

           Injunctive relief is specifically authorized in trademark
     infringement cases. 15 U.S.C. 1116(a).

                                III. DISCUSSION

     A.    Ex Parte Relief

           JLI requests the TRO be issued ex parte, claiming notice to the
     Defendants would render further prosecution fruitless. See dkt. 6 at
     23-25. Specifically, JLI claims Defendants are likely to dispose of the
     infringing goods before the hearing. See id.

           The Court finds Gucci Am., Inc. v. Los Altos Boots, Inc., No. CV
     14-06680 BRO (AJWx), 2014 WL 12561613 (C.D. Cal. Aug. 27, 2014),
     instructive. There, the court excused the plaintiff from providing notice
     before issuing a TRO because: (1) the defendant could easily conceal the
     counterfeit goods and related records given their nature and location
     outside the U.S.; and (2) similarly situated defendants in trademark
     infringement cases have a history of ignoring court orders to preserve
     and instead destroying evidence after ex parte TROs and seizure orders




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     were denied. Id. at *3-4 (citing First Tech. Safety Sys., Inc., 11 F.3d at
     650 and Matter of Vuitton et Fils S.A., 606 F.2d 1, 5 (2d Cir. 1979)).

           Here, JLI has presented substantial evidence that Defendants
     willfully advertised and sold counterfeit JUUL Products, are continuing
     to advertise and sell counterfeit USB Charging Docks exclusively
     online, and are able and likely to dispose of evidence if given advance
     notice of the present application. JLI has shown that similarly situated
     defendants in similar online counterfeiting cases have a history of
     ignoring court orders to preserve and instead destroying evidence when
     notice is given. See Decl. No. 1 ¶ 24. In addition, JLI has had difficulty
     in the past recovering damages from counterfeiters like Defendants,
     that are overseas and advertise and sell their products primarily
     online, when they receive prior notice. Id.¶ 25. 1 For good cause shown,
     JLI is relieved from giving notice to Defendants.

     B.    Injunctive Relief

           1.    Likelihood of Success

            JLI asserts federal claims for trademark infringement,
     counterfeiting, and false designation of origin and advertising under
     the federal Lanham Act, as well as claims for unfair competition and
     false advertising under California state law. For the reasons explained
     below, JLI has demonstrated a likelihood of success with respect to all
     its claims.

                 a.     Federal Claims

           A plaintiff claiming trademark infringement under the Lanham
     Act must show that it “owns a valid mark, and thus a protectable
     interest” and that the defendant’s “use of the mark is likely to cause
     confusion, or to cause mistake, or to deceive.” Lahoti v. VeriCheck,



     1The Court notes this evidence is more substantial than the “thin and
     barebones” supporting evidence in Reno Air Racing Ass’n., Inc., 452 F.3d at
     1132.



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     Inc., 586 F.3d 1190, 1196 (9th Cir. 2009) (internal quotation marks
     omitted); see also 15 U.S.C. § 1114(1).

           JLI has established that it owns federal trademark registrations
     for the JUUL Marks. Decl. No. 1 ¶¶ 9, 11, Ex. B. JLI has also shown
     that Defendants are using those marks in connection with selling
     counterfeit JUUL products in the U.S. See, e.g., Decl. No. 3 ¶¶ 19-22;
     Decl. No. 2 ¶ 13.

           “To determine whether a likelihood of consumer confusion exists,”
     courts in the Ninth Circuit rely “on the eight-factor Sleekcraft test,
     which reviews: (1) the strength of the mark; (2) proximity or
     relatedness of the goods; (3) similarity of the marks; (4) evidence of
     actual confusion; (5) marketing channels used; (6) type of goods and the
     degree of care likely to be exercised by the purchaser; (7) the
     defendant’s intent in selecting the mark; and (8) the likelihood of
     expansion of the product lines.” JL Beverage Co., LLC v. Jim Beam
     Brands Co., 828 F.3d 1098, 1106 (9th Cir. 2016) (citing AMF Inc. v.
     Sleekcraft Boats, 599 F.2d 341, 348-49 (9th Cir. 1979)), abrogated in
     part on other grounds by Mattel, Inc. v. Walking Mountain Prods., 353
     F.3d 792, 810 (9th Cir. 2003)). “The factors are non-exhaustive and
     applied flexibly; the Sleekcraft factors are not intended to be a rote
     checklist.” Id. (internal quotation marks and citation omitted).

           Proving false designation of origin based on the same or similar
     trade names or symbols requires the same showing of a likelihood of
     confusion. Accuride Int’l, Inc. v. Accuride Corp., 871 F.2d 1531, 1534-
     35 (9th Cir. 1989) (“[T]he same broad standards of protection apply to
     trademarks and trade names. . . . [L]ikelihood of confusion is
     unquestionably the key to a finding of infringement in either case.”);
     see also 15 U.S.C. § 1125(a)(1); Brookfield Commc’ns, Inc. v. W. Coast
     Entm’t Corp., 174 F.3d 1036, 1047 n. 8 (9th Cir. 1999) (noting that
     while Lanham Act § 32 of the (15 U.S.C. § 1114) protects registered
     marks, § 43(a) (15 U.S.C. § 1125(a)) also protects against infringement
     of unregistered marks and trade dress and against a wider range of
     practices such as false advertising, but “the analysis under the two
     provisions is oftentimes identical”).


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             The Sleekcraft test is appropriate to determine likelihood of
     confusion regarding a claim for false designation of origin. Accuride
     Int’l, Inc., 871 F.2d at 1536. But courts in this district and around the
     Ninth Circuit hold that in cases involving counterfeiting, “it is
     unnecessary to perform the step-by-step [eight-factor] examination . . .
     because counterfeit marks are inherently confusing.” E.g., Phillip
     Morris USA Inc. v. Shalabi, 352 F. Supp. 2d 1067, 1073 (C.D. Cal.
     2004); Microsoft Corp. v. Buy More, Inc., 136 F. Supp. 3d 1148, 1157
     (C.D. Cal. 2015), aff’d, 703 F. App’x 476 (9th Cir. 2017) (quoting Phillip
     Morris, 352 F. Supp. 2d at 1073); Daimler AG v. A-Z Wheels LLC, 334
     F. Supp. 3d 1087, 1096 (S.D. Cal. 2018) (citing Phillip Morris, 352 F.
     Supp. 2d 1067 at 1073); Ubiquiti Networks, Inc. v. Kozumi USA Corp.,
     No. C 12-2582 CW, 2012 WL 2343670, at *14 (N.D. Cal. June 20, 2012).

           A counterfeit mark is: “(1) a non-genuine mark identical to the
     registered, genuine mark of another, where (2) the genuine mark was
     registered for use on the same goods to which the infringer applied the
     mark.” Louis Vuitton Malletier, S.A. v. Akanoc Sols., Inc., 658 F.3d
     936, 946 (9th Cir. 2011) (citing State of Idaho Potato Comm’n v. G & T
     Terminal Packaging, Inc., 425 F.3d 708, 721 (9th Cir. 2005)). As JLI
     has shown that this is a clear case of counterfeiting, including the use
     of identical marks in connection with, supposedly, the same goods,
     there is a likelihood of confusion as a matter of law.

           In any event, JLI meets the Sleekcraft likelihood of confusion
     standard. JLI has used its trade name and the JUUL Marks for more
     than five years in connection with the JUUL Products, and such
     products have been successful in the marketplace such that the JUUL
     Marks are widely recognized and well known, so the marks are strong
     (Sleekcraft factor 1). Decl. No. 1 ¶¶ 10, 12. Defendants sell the same
     kinds of products as JLI – nicotine delivery devices and cartridges and
     USB chargers for use with such devices (factor 2) – and are using
     identical marks and trade names in their advertising and on the
     packaging for such products and on the products themselves (factor 3).
     And the use of identical marks and trade names to sell counterfeit
     products shows Defendants intend to confuse the public (factor 7).



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           JLI has shown that it is likely to succeed on the merits of its
     federal trademark infringement, false designation of origin, and unfair
     competition claims.

                 b.    State Law Claims

            JLI has also demonstrated a probability of success with respect to
     its state law claims for unfair competition and false advertising. The
     Ninth Circuit “has consistently held” that these claims “are
     ‘substantially congruent’ to claims made under the Lanham Act.”
     Cleary v. News Corp., 30 F.3d 1255, 1262-63 (9th Cir. 1994). “An
     action for unfair competition under Cal. Bus. & Prof. Code §§ 17200 et
     seq. is substantially congruent to a trademark infringement claim
     under the Lanham Act. Under both, the ultimate test is whether the
     public is likely to be deceived or confused by the similarity of the
     marks.” Acad. of Motion Picture Arts & Scis. v. Creative House
     Promotions, Inc., 944 F.2d 1446, 1457 (9th Cir. 1991) (internal
     quotation marks and citations omitted).

            Similarly, where plaintiffs establish that they are likely to
     succeed on the merits of federal Lanham Act claims, they also
     demonstrate a likelihood of success on parallel false advertising claims
     under California law because “the ‘likelihood of success’ analysis is the
     same” for both these statutory schemes. Mercury Ins. Servs., Inc. v.
     Mercury Collision Center, Inc., No. CV 10-00144 CBM (AJWx), 2010
     WL 11597513, at *3 (C.D. Cal. Mar. 31, 2010); accord United Tactical
     Sys., LLC v. Real Action Paintball, Inc., No. 14-CV-04050-MEJ, 2014
     WL 6788310, at *16-17 (N.D. Cal. Dec. 2, 2014) (finding showing of
     likelihood of success under Lanham Act sufficient to meet burden for
     unfair competition under Section 17200 and false advertising under
     Section 17500).

           As JLI has shown it is likely to succeed on the merits of its
     federal claims, JLI has also shown it is likely to succeed on its parallel
     claims for unfair competition and false advertising under California
     law.




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           2.    Irreparable Harm

           To demonstrate the likelihood of irreparable harm, Plaintiff must
     show that “remedies available at law, such as monetary damages, are
     inadequate to compensate for the injury.” Herb Reed Enters., LLC v.
     Fl. Ent. Mgmt., Inc., 736 F.3d 1239, 1249 (9th Cir. 2013). The Ninth
     Circuit has recognized that “intangible injuries,” including loss of
     goodwill, can constitute irreparable harm. Rent-A-Ctr., Inc. v. Canyon
     Television & Appliance Rental, Inc., 944 F.2d 597, 603 (9th Cir. 1991).
     “That trademark infringement causes irreparable injury and
     necessitates immediate injunctive relief is universally recognized in the
     courts of this circuit.” Steinway & Sons, 1981 WL 40530, at *7-8. A
     plaintiff need not prove loss of business from trademark infringement,
     rather, “‘[t]he fact that [the] plaintiff has had the symbol of its
     reputation placed in the hands of another is irreparable injury.’” Id. at
     *8 (quoting Citibank, N.A v. City Bank of San Francisco, No. C 79 1922,
     1980 WL 30239, at *7 (N.D. Cal. Mar. 23, 1980)).

            Even without the presumption of irreparable harm, “‘[e]vidence of
     a loss of control over business reputation and damage to goodwill’ may
     be sufficient to show irreparable harm.” Gucci, 2014 WL 12561613, at
     *7 (finding irreparable harm and issuing TRO where plaintiff’s mark
     was well-known and it had spent substantial amount on advertising
     and promotion, thus, defendant’s sales would harm goodwill and
     reputation) (quoting Herb Reed Enters., LLC, 736 F.3d at 1250); see
     also SATA GmbH & Co. Kg v. Wenzhou New Century Int'l, Ltd., No.
     CV 15-08157-BRO (EX), 2015 WL 6680807, at *8 (C.D. Cal. Oct. 19,
     2015) (finding counterfeit products would cause irrepealable harm to
     plaintiff’s goodwill and reputation).

           JLI has spent years investing in and building the goodwill in its
     brand, which has become widely recognized and well known. See Decl.
     No. 1 ¶¶ 10, 12-13. Defendants’ sales of counterfeit JUUL Products
     mislead customers and threaten irreparable harm to JLI’s goodwill and
     reputation that cannot be adequately redressed with money. This is
     particularly so because Defendants’ products were not subject to the




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     same rigorous quality control measures and safety testing as genuine
     JUUL Products. See id. ¶¶ 15-23.

           3.    Balance of Equities

            “Courts must balance the competing claims of injury and must
     consider the effect on each party of the granting or withholding of the
     requested relief.” Winter, 555 U.S. at 24. “[C]ourts will not shy away
     from issuing” preliminary injunctive relief “‘where to do so would be to
     aid a second comer who has sought to trade upon the efforts and good
     will of the first comer.’” Moroccanoil, Inc. v. Moroccan Gold, LLC, No.
     CV 08-05356-RGK (PLAx), 2008 WL 11411416, at *7 (C.D. Cal. Dec. 23,
     2008) (quoting Helene Curtis Indus., Inc. v. Church & Dwight Co., 560
     F.2d 1325, 1333 (7th Cir. 1977)). Here, the balance of equities tips
     strongly in favor of the issuance of injunctive relief.

           A TRO or preliminary injunction will impose no legally
     cognizable hardship on Defendants. “[W]here the only hardship that
     the defendant will suffer is lost profits from an activity which has been
     shown likely to be infringing, such an argument in defense merits little
     equitable consideration.” Dr. Seuss Enters., L.P. v. Penguin Books
     USA, Inc., 924 F. Supp. 1559, 1574 (S.D. Cal. 1996) aff’d, 109 F.3d 1394
     (9th Cir. 1997) (quoting Concrete Mach. Co. v. Classic Lawn
     Ornaments, Inc., 843 F.2d 600, 612 (1st Cir. 1988)).

           Defendants have no right to sell counterfeit JUUL Products or
     use the JUUL Marks. Any hardship from being barred from doing so
     should be disregarded. At the same time, every sale of a counterfeit
     JUUL Product by Defendants is likely a lost sale for JLI that detracts
     from the value of its trademarks and goodwill and risks serious and
     irreparable harm to its reputation (not to mention the public) by being
     a potentially dangerous product. Accordingly, the balance of equities
     strongly supports issuing a preliminary injunction in this case.

           4.    Public Interest

            Public policy favors granting an injunction when there is a
     likelihood of consumer confusion. See Playboy Enters., Inc. v. Baccarat



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     Clothing Co., 692 F.2d 1272, 1275 (9th Cir. 1982) (“In addition to the
     harm caused the trademark owner, the consuming public is equally
     injured by an inadequate judicial response to trademark
     infringement.”).

           In this case, public policy favors injunctive relief even more than
     the usual counterfeiting case because JLI has offered substantial
     evidence that Defendants’ conduct potentially poses a threat to health
     and safety. The functionality, performance, and safety of these
     products is unknown. Decl. No. 1 ¶ 20. JLI has no control over the
     design, manufacturing, and packaging of Defendants’ products. Id.
     Defendants’ products are not subjected to JLI’s quality-control
     standards and testing. Id. These products may be manufactured with
     unknown foreign substances and materials that users and those around
     them are then inhaling and are otherwise exposed to. Id.

            Other courts have recognized that these kinds of dangers
     enhance the need for judicial intervention. See Lorillard Tobacco Co. v.
     S & M Cent. Serv. Corp., No. 03 C 4986, 2004 WL 2534378, at *6 (N.D.
     Ill. Nov. 8, 2004) (finding counterfeit tobacco products are not “subject
     to any type of safety review or quality control process.”); Philip Morris
     USA Inc. v. C.H. Rhodes, Inc., No. 08 CV 0069 ARR CLP, 2010 WL
     1196124, at *5 (E.D.N.Y. Mar. 26, 2010) (“there is always a danger that
     [tobacco products] produced and distributed illegally could be more
     harmful to the health of the public” than tobacco products that are
     “produced under the auspices of the law” because “[t]here is no way of
     ensuring the quality of counterfeit [products], which could be made
     from anything”), report and recommendation adopted, No. 08-CV-0069
     ARR CLP, 2010 WL 1633455 (E.D.N.Y. Apr. 21, 2010).

            Even without the manifest threat to public health posed by the
     Defendants’ counterfeit products, public policy still strongly favors
     granting interim relief. In evaluating the public interest in enjoining
     suspected counterfeiters, courts should be mindful that despite the
     false view that “intellectual property disputes” concern fights between
     “two faceless entities,” public policy strongly supports shutting down
     counterfeiters to protect end-consumers. Neighborhood Assistance


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     Corp. v. First One Lending Corp., No. SACV 12-0463 DOC (MLGx),
     2013 WL 12113414, at *5 (C.D. Cal. Feb. 11, 2013). This is so because
     “the policy justification for trademark law is to protect human beings,”
     and “the purpose of the Lanham Act is ‘to protect the public’ from false
     and deceptive practices that create confusion in the marketplace.” Id.
     (emphasis in original) (quoting U-Haul Int’l, Inc. v. Jartran, Inc., 681
     F.2d 1159, 1162 (9th Cir. 1982)).

           The Ninth Circuit has explained that “the consuming public is
     equally injured by an inadequate judicial response to trademark
     infringement,” so “it is essential that the trial courts carefully fashion
     remedies which will take all the economic incentive out of trademark
     infringement.” Playboy Enters., Inc., 692 F.2d at 1275. The Ninth
     Circuit has further found that a preliminary injunction barring
     probable trademark infringement “serve[s] the public interest by
     avoiding customer confusion-an important consideration in trademark
     cases.” Creative Labs, Inc. v. Cyrix Corp., 141 F.3d 1174 (9th Cir.
     1998).

           The above facts clearly demonstrate that the public interest
     favors injunctive relief. JLI’s request for an order to show cause why a
     preliminary injunction should not issue is GRANTED.

     C.    Asset Freeze

           JLI seeks an order freezing Defendants’ assets to preserve the
     possibility of equitable relief, including an accounting and return of
     Defendants’ ill-gotten gains from counterfeiting.

            When a plaintiff seeks equitable remedies under the Lanham
     Act, including recovery of a defendant’s profits under 15 U.S.C. § 1117,
     a district court has “inherent equitable power to issue provisional
     remedies ancillary to its authority to provide final equitable relief.”
     Reebok Int’l, Ltd. v. Marnatech Enterprises, Inc., 970 F.2d 552, 559
     (9th Cir. 1992). This includes “the power to issue a preliminary
     injunction in order to prevent a defendant from dissipating assets in
     order to preserve the possibility of equitable remedies.” Id. (quoting
     Republic of the Philippines v. Marcos, 862 F.2d 1355, 1364 (9th Cir.


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     1988) (en banc)). The Ninth Circuit explained that “it is essential that
     the trial courts carefully fashion remedies which will take all the
     economic incentive out of trademark infringement,” and affirmed the
     district court’s granting of TROs and preliminary injunctions to freeze
     the defendants’ assets, in addition to preventing various counterfeiting-
     related activities. Id. at 560 (quoting Playboy Enters., 692 F.2d at
     1275).

            JLI has already met the standards for granting preliminary
     injunctive relief as to Defendants’ counterfeiting activities. In addition,
     “[a] party seeking an asset freeze must show a likelihood of dissipation
     of the claimed assets, or other inability to recover monetary damages, if
     relief is not granted.” Johnson v. Couturier, 572 F.3d 1067, 1085 (9th
     Cir. 2009). Given the deceitful and secretive nature of counterfeiting,
     courts in the Ninth Circuit regularly find that dissipation of assets is
     likely and grant asset freezes in cases involving willful counterfeiting,
     particularly overseas where defendants can hide assets from a potential
     judgment.

            In Chanel, Inc. v. Sunus Online Group, LLC, No. EDCV 13-2194
     JGB (DTBx), 2014 WL 12558780, at *1 (C.D. Cal. Jan. 15, 2014), the
     defendants sold counterfeit handbags and wallets online. The court
     found “based on Defendants’ blatant violations of trademark laws there
     is likelihood that Defendants would transfer or hide the illegally
     obtained assets in order to avoid a judgment in this action,” and thus,
     granted a preliminary injunction freezing their assets. Id. at *3 (noting
     that while this “may harm [the defendants], when weighing this harm
     against the counterfeiting activities that have harmed Chanel, the
     balance of equities tips in Chanel’s favor.”).

           Other district courts agree that asset freezes are warranted to
     preserve assets in counterfeiting cases, particularly where the
     defendants operate overseas or online. See, e.g., Cisco Sys., Inc., 2020
     WL 5199434, at *11 (issuing TRO and then preliminary injunction
     freezing assets of Chinese defendants who were selling counterfeit
     transceivers online); Reebok Int’l Ltd. v. Marnatech Enterprises, Inc.,
     737 F. Supp. 1521, 1527 (S.D. Cal. 1989) (“[d]ue to the international


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     aspect of the defendants’ business, the Court is concerned that unless
     the assets are frozen, defendants may hide their allegedly ill-gotten
     funds.”), aff’d, 970 F.2d at 563 (9th Cir. 1992); Levi Strauss & Co. v.
     Sunrise Int’l Trading Inc., 51 F.3d 982, 987-88 (11th Cir. 1995)
     (affirming preliminary injunction freezing assets of U.S.-based
     defendants who arranged for making counterfeit jeans in China); Juul
     Labs, Inc. v. Unincorporated Associations Identified in Schedule a, No.
     1:18-CV-1063, 2018 WL 4473586, at *1 (E.D. Va. Sept. 18, 2018)
     (granting TRO freezing each of the defendants’ PayPal accounts to
     prohibit transfer of assets where Chinese defendants were selling
     counterfeit JUULpods online).

            JLI seeks recovery of Defendants’ profits from their wrongful use
     of the JUUL Marks in connection with sales of certain JUUL Products,
     among other relief, so the Court is authorized to freeze Defendants’
     assets. See Dkt. 1 (Compl.) at Prayer for Relief ¶¶ J-K. The present
     action involves blatant unauthorized use of the JUUL Marks by
     Defendants, including in their advertising for JUUL Products and on
     the JUUL Products themselves, and Defendants are based in China
     and offer their products exclusively online.

            JUUL has met its burden of showing that Defendants can and
     likely will dissipate their assets during the pendency of this case if
     given the opportunity to do so. This is especially true because of the
     difficulty in enforcing U.S. judgments in China. See e.g., Enforcement
     of Judgments, U.S. Department of State,
     https://travel.state.gov/content/travel/en/legal/travel-legal-
     considerations/internl-judicial-asst/Enforcement-of-Judges.html (noting
     no treaty or convention provides for reciprocal recognition and
     enforcement of judgments); Yee v. NIVS Intellimedia Tech. Group, Inc.,
     No. CV 11-8472 JGB (AJWx), 2013 WL 1276024, at *5 (C.D. Cal. Mar.
     25, 2013) (stating that the Chinese company whose executives are
     Chinese residents “bore no real risk of sanctions” given the difficulty of
     enforcing a U.S. judgment against a Chinese national); Redwen v. Sino
     Clean Energy, Inc., No. CV 11-3936 PA (SSx), 2013 WL 12303367, at
     *5-6 (C.D. Cal. Jul. 9, 2013) (finding that the plaintiff “would face



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     significant obstacles in enforcing any judgment against the defendants’
     assets in China”).

         JLI’s request for an Order freezing Defendants’ assets is
     GRANTED.

     D.    Expedited Discovery

           JLI seeks two types of expedited discovery. First, JLI seeks leave
     to obtain all documents from each Defendant, including but not limited
     to data from Defendants’ inventory system, showing the names,
     addresses, and other contact information of all individuals and entities
     that each Defendant bought JUUL Products from and/or sold them to,
     along with quantities and prices of all such purchases and sales.
     Second, JLI seeks leave to obtain from any third party providing
     services to Defendants, e.g., financial institutions (including, but not
     limited to, PayPal and Visa), and Common Carriers, documents
     concerning: 1) contact information of each Defendant and all entities
     and individuals associated or acting in concert therewith; 2) each
     Defendant’s account information and related transactional data,
     including but not limited to, account balances, account numbers,
     product category identifications, and associated accounts; and 3) each
     Defendant’s operations, payment methods, and transportation and
     shipping history concerning purported JUUL Products.

            The Court has discretion to expedite discovery, particularly in
     cases where plaintiffs seek temporary or preliminary injunctive relief.
     See Fed. R. Civ. P. 26(d) (allowing for expedited discovery “by court
     order”); Advisory Comm. Note on 1993 Amendment (stating
     “[d]iscovery can begin earlier” which “will be appropriate in some cases,
     such as those involving requests for a preliminary injunction”).
     Expedited discovery can be granted for good cause “where the need for
     expedited discovery, in consideration of the administration of justice,
     outweighs the prejudice to the responding party,” Zosma Ventures, Inc.
     v. Nazari, No. CV-12-01404 RSWL (FFMX), 2012 WL 12887392, at *6
     (C.D. Cal. Mar. 14, 2012), and “good cause is frequently found in cases




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     involving claims of infringement and unfair competition,” Semitool, Inc.
     v. Tokyo Electron Am., Inc., 208 F.R.D. 273, 276 (N.D. Cal. 2002).

            Courts in the Ninth Circuit have found good cause for expedited
     discovery to enable plaintiffs in counterfeiting cases to identify:
     1) accounts used for and transactions associated with infringing sales;
     2) original sources of and pending shipments of counterfeit products;
     and 3) other parties involved in counterfeiting activities. See Spy Optic
     Inc. v. Individuals, Partnerships & Unincorporated Associations
     Identified on Schedule A, No. CV 17-7649 DSF (KSX), 2017 WL
     10592133, at *2 (C.D. Cal. Nov. 27, 2017) (ordering eBay and PayPal to
     identify all funds transmitted to defendants’ accounts and to provide
     plaintiffs with data and accounting of all funds, accounts, and
     transactions); SATA GmbH & Co. Kg, 2015 WL 6680807, at *11
     (granting expedited discovery to ascertain sources of the counterfeit
     products and learn of pending shipments of such products); Sas v.
     Sawabeh Info. Servs. Co., No. CV 11-04147 GAF (MANx), 2011 WL
     13130013, at *6-7 (C.D. Cal. May 17, 2011) (granting expedited
     discovery to get evidence for preliminary injunction, identify others
     involved in counterfeiting, and preserve evidence).

           There is good cause for such expedited discovery to aid the
     Court’s consideration of a preliminary injunction, and to ensure that
     JLI can identify the full scope of infringing activities and immediately
     halt the manufacture and distribution of counterfeit products and
     resulting irreparable harm while this case is pending. JLI also needs
     to be able to identify potential sources for equitable relief. The
     requested discovery is narrowly focused and the documents should be
     easily identifiable. The need for early discovery outweighs any
     prejudice to Defendants from having to produce these discoverable
     documents sooner rather than on the normal timeframe for discovery.

           JLI’s motion for expedited discovery is GRANTED.

     E.    Security

         “The district court is afforded wide discretion in setting the
     amount of the bond, [] and the bond amount may be zero if there is no


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     evidence the party will suffer damages from the injunction.”
     Connecticut Gen. Life Ins. Co. v. New Images of Beverly Hills, 321 F.3d
     878, 882 (9th Cir. 2003) (internal citations omitted); see also Beyond
     Blond Prods., LLC v. Heldman, 479 F. Supp. 3d 874, 890 (C.D. Cal.
     2020) (no bond required where there was no evidence that infringing
     defendants would suffer damages by issuance of the injunction).

           Because of the clear evidence of Defendants’ counterfeiting,
     infringement, and unfair competition, the Court finds it appropriate to
     issue the requested ex parte relief and preliminary injunction without
     requiring JLI to provide security.

     F.    Alternative Service of Process

            JLI requests an order authorizing it to serve the following
     Defendants by email because of the urgency involved in this matter,
     and the extreme difficulty and delays in effecting service in China
     through the Hague Convention, as well as the additional obstacles
     posed by the COVID-19 emergency: (1) Andy Chou (aka Lizhi Zhou); (2)
     Yiwu Cute Jewelry Co., Ltd.; (3) Yiwu Xite Jewelry Co., Ltd.; and (4)
     Yiwu Promotional Trade Co., Ltd. (aka Yiwu Promotion Trade Co.,
     Ltd.).

            Courts are permitted to authorize service of process on
     defendants located in foreign countries “by other means not prohibited
     by international agreement.” Fed. R. Civ. P. 4(f)(3). The only
     requirements under Rule 4(f)(3) are that service be directed by the
     court and not prohibited by international agreement. Rio Properties,
     Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1015 (9th Cir. 2002). “[C]ourt-
     directed service under Rule 4(f)(3) is as favored as service available
     under Rules [4(f)(1–2)]” and does not require first attempting other
     means. Id. To provide due process in this context, courts evaluate
     whether a service method is “‘reasonably calculated, under all the
     circumstances, to apprise interested parties of the pendency of the
     action and afford them an opportunity to present their objections.’” Id.
     at 1016 (quoting Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S.
     306, 314 (1950)). In Rio, the Ninth Circuit agreed that service by email



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     was appropriate, particularly where the defendant conducted its
     business by email. Id. at 1017-18.

            Service by email on defendants in China is not barred by any
     international agreement. Toyo Tire & Rubber Co. v. CIA Wheel Grp.,
     No. 15-0246-DOC (DFMX), 2016 WL 1251008, at *3 (C.D. Cal. Mar. 25,
     2016). Courts in this district and this circuit have authorized email
     service and found that it is reasonably calculated to provide notice to
     foreign defendants, including defendants based in China, where receipt
     is confirmed, the email addresses were previously used to communicate
     with the plaintiffs, or the defendants operate online and use email for
     their businesses. Id. (affirming email service on defendants in China
     was sufficient where no bounce back email was received, confirming
     receipt); Carson v. Griffin, No. 13-CV-0520 KAW, 2013 WL 2403601, at
     *1-2 (N.D. Cal. May 31, 2013) (authorizing service by email where the
     plaintiff previously corresponded with the defendants via email); Cisco
     Sys., Inc., 2020 WL 5199434, at *14-15 (authorizing email service on
     Chinese defendants, which operated online and relied on email
     communications for their businesses).

           Additionally, the Hague Convention expressly does not apply
     “where the address of the person to be served with the document is not
     known.” Convention Done at the Hague Nov. 15, 1965;, T.I.A.S. No.
     6638 (Feb. 10, 1969); Toyo Tire, 2016 WL 1251008, at *3 (authorizing
     service of process by email where Chinese defendants’ addresses were
     unknown); see also Rosen v. Imagevenue.com, No. CV 13-01742
     (MANX), 2014 WL 12601326, at *3 (C.D. Cal. Aug. 11, 2014) (service of
     process by email on foreign defendant authorized where “Plaintiff’s
     private investigator was unable to pinpoint Defendants’ location”).

           The above-listed Defendants are based in China and operate
     Internet-based businesses trafficking in counterfeit JUUL Products;
     they provide email addresses for communication; and they ultimately
     negotiated and consummated transactions for the infringing products
     obtained by JLI’s investigator via email. See Decl. No. 3 ¶¶ 5, 7-11, 41.
     Similarly, service by email is appropriate on Chou because his physical
     address is unknown. See Wilkins Decl. ¶ 6. Although China has


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     signed the Hague Convention on Service, district courts have
     recognized that China often obstructs and substantially delays service
     under that process for many months. See Micron Tech., Inc. v. United
     Microelectronics Corp., No. 17-CV-06932-MMC, 2018 WL 6069646, at
     *1-2 (N.D. Cal. Nov. 20, 2018) (collecting cases authorizing alternative
     service for foreign defendants under the Hague Convention); Nike, Inc.
     v. Wu, 349 F. Supp. 3d 310, 338 (S.D.N.Y.), aff'd, 349 F. Supp. 3d 346
     (S.D.N.Y. 2018); see also Jacob Shindler, Suing a Chinese entity in the
     United States? Expect a two year wait to serve process, IAM (May 18,
     2018), https://www.iam-media.com/frandseps/suing-chinese-entity-in-
     the-united-states-expect-two-year-wait-serve-process (reporting it can
     take 1-2 years to effect service in China through Hague Convention
     process).

            The Court therefore GRANTS JLI’s request for leave to effect
     service of the Summons and Complaint in this action, as well as this
     Order, via email to the following defendants at the respective email
     address(es) they used to communicate with or that were listed on the
     invoices sent to JLI’s investigator: (1) Andy Chou (aka Lizhi Zhou); (2)
     Yiwu Cute Jewelry Co., Ltd.; (3) Yiwu Xite Jewelry Co., Ltd.; and (4)
     Yiwu Promotional Trade Co., Ltd. (aka Yiwu Promotion Trade Co.,
     Ltd.).

                               IV. CONCLUSION

           For the reasons set forth above, the Court GRANTS JLI’s
     Application for a TRO. The Court therefore orders the following.

     A.    Freezing Defendants’ Assets

           Immediately on receipt of this Order, Defendants Andy Chou
     (aka Lizhi Zhou), Yiwu Cute Jewelry Co., Ltd., Yuwi Xite Jewelry Co.,
     Ltd., CJ Fulfillment Corp., CJ Trade Corp., and Yiwu Promotional
     Trade Co., Ltd (aka Yiwu Promotion Trade Co., Ltd.) (collectively,
     Defendants), and their principals, agents, officers, directors, members,
     servants, employees, successors, assigns, and all other persons in
     concert and participation with them (collectively, the Restrained
     Parties), shall be restrained from secreting any assets, and from


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     transferring or conveying any assets held by, for, or on account of any
     of the Restrained Parties, and a full accounting of the restrained assets
     shall be provided to counsel for JLI within three business days of
     receipt of this Order.

            Immediately on receipt of this Order, all assets and funds held
     by, for, or on account of any of the Restrained Parties, or in an account
     owned or controlled by any of the Restrained Parties, or in an account
     as to which any of the Restrained Parties has signature authority, shall
     be frozen and restrained, and a full accounting of the restrained assets
     shall be provided to counsel for JLI within three business days of
     receipt of this Order.

           Immediately on receipt of this Order, any bank, brokerage house,
     financial institution, credit card association, merchant account
     provider, escrow service, savings and loan association, payment
     provider, payment processing service provider, money transmission
     service, third-party processor, or other financial institution (including,
     but not limited to, MasterCard, VISA, American Express, Discover,
     PayPal, Inc., Alipay, Wish.com, Amazon Pay, WeChat Pay, and any
     correspondent, issuing, or member bank or account) (collectively,
     Payment Services) holding any assets by, for, or on account of, or any
     balance, payable, or receivable owed to or held on account of, any of the
     Restrained Parties, or in an account as to which any of the Restrained
     Parties has signature authority, shall locate all accounts and funds,
     whether located inside or outside the United States, connected to any
     Restrained Parties and be restrained from releasing such funds until
     further order of this Court, and within three business days of receipt of
     this Order shall provide to counsel for JLI a full accounting of the
     restrained assets.

     B.    Sequestration and Inspection of JUUL-Marked Products
           and Products Advertised Using the JUUL Marks

          Immediately on receipt of this Order the Restrained Parties shall
     sequester and deliver to counsel for JLI all JUUL-marked products or
     products advertised using the JUUL Marks in their inventory,



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     possession, custody, or control to be examined and held by JUUL until
     further order of this Court.

     C.    Order to Show Cause Re: Preliminary Injunction and
           Expedited Discovery

           Defendants are ordered to show cause at a remote hearing before
     this Court on April 27, 2021 at 10:00 a.m. Pacific Daylight Time, 2 why
     a preliminary injunction pursuant to Rule 65 of the Federal Rules of
     Civil Procedure should not be issued enjoining the Restrained Parties
     pending the final hearing and determination of this action from:

           1. Purchasing, selling, distributing, marketing, manufacturing,
              or otherwise using any of the JUUL Marks (as defined in this
              Order) on any counterfeit or authentic product, or any marks
              confusingly similar thereto in connection with any JUUL
              products or other products. The “JUUL Marks” are:

                  • The “JUUL” wordmark (U.S. Trademark Reg. No.
                    4,818,664);

                  •         (U.S. Trademark Reg. Nos. 4,898,257);


                  •              (U.S. Trademark Reg. No. 5,770,541);

                  • “JUUL LABS” (U.S. Trademark Reg. No. 5,776,153);

                  • “JUULPODS” (U.S. Trademark Reg. Nos. 5,918,490);


                  •             (U.S. Trademark Reg. No. 6,064,902); and

                  •         (U.S. Trademark Reg. Nos. 6,211,614).




     2Instructions concerning how to participate in the hearing via Zoom are
     available on the Central District website and will be posted on the Court’s
     calendar.



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          2. Using any logo, trade name, or trademark confusingly similar
             to any of the JUUL Marks which may be calculated to falsely
             represent or which has the effect of falsely representing that
             the services or products of any or all of the Defendants or of
             others are sponsored by, authorized by, or in any way
             associated with JUUL;

          3. Infringing any of the JUUL Marks;

          4. Otherwise unfairly competing with JUUL in the manufacture,
             sale, offering for sale, distribution, advertisement, or any
             other use of JUUL products;

          5. Falsely representing any or all of Defendants as being
             connected with JUUL or sponsored by or associated with
             JUUL or engaging in any act that is likely to cause the trade,
             retailers, or members of the purchasing public to believe that
             any or all of Defendants are associated with JUUL;

          6. Using any reproduction, counterfeit, copy, or colorable
             imitation of any of the JUUL Marks in connection with the
             publicity, promotion, sale, or advertising of counterfeit JUUL
             products;

          7. Affixing, applying, annexing, or using in connection with the
             sale of any goods, a false description or representation
             including words or other symbols tending to falsely describe or
             represent such goods as being JUUL products and from
             offering such goods in commerce;

          8. Diluting any of the JUUL Marks;

          9. Removing from their premises, or discarding, destroying,
             transferring, or disposing in any manner any information,
             computer files, electronic files, business records (including but
             not limited to e-mail communications), or other documents
             relating to Defendants’ assets and operations or relating in
             any way to the purchase, sale, manufacture, offer for sale,
             distribution, negotiation, importation, advertisement,


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                 promotion, or receipt of any products purporting to be JUUL;
                 and

           10.      Assisting, aiding, or abetting any other person or business
                 entity in engaging in or performing any of the activities
                 referred to in subparagraphs (a) through (i) above.

           11.      Defendants must disable, suspend, cancel, or otherwise
                 cease all use of any and all URL listings from the
                 cjdropshipping.com website or any other associated website
                 that advertises or lists for sale or distribution any and all
                 products that use the JUUL Marks or are otherwise
                 advertised as JUUL products or “JUUL compatible” products.

            It is further ordered that the Summons and Complaint, Plaintiffs’
     applications and all supporting papers, and this Order be served on
     Defendants or their attorneys of record no later than April 16, 2021 at
     6:00 p.m. Pacific Daylight Time. Defendants’ failure to attend the
     scheduled show cause hearing shall result in the immediate issuance
     and confirmation of the preliminary injunction, and failure of
     Defendants to file their opposition or response to this Order and serve
     it electronically on Plaintiff’s attorneys of record by April 22, 2021 at
     1:00 p.m. Pacific Daylight Time, shall result in the automatic issuance
     of a preliminary injunction, which shall be deemed to take effect
     immediately and shall extend during the pendency of this action. The
     Restrained Parties shall be deemed to have actual notice of the
     issuance and terms of such preliminary injunction, and any act by any
     of the Restrained Parties in violation of any of its terms may be
     considered and prosecuted as contempt of this Court.

     D.    Expedited Discovery

           1.       Defendants

           Within three business days of receipt of this Order, the
     Restrained Parties shall produce to JLI’s counsel a summary document
     showing the dates, quantities, names, addresses, and other contact
     information, including any and all associated email addresses, of all



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     suppliers and customers for the preceding 24 months from whom they
     have purchased or to whom they have sold any products using the
     JUUL Marks.

           2.    Third Parties

           Within three business days of receipt of this Order, any Payment
     Service or other financial institution, Common Carrier, or any other
     non-party that has information about the Restrained Parties shall
     produce to JLI’s counsel expedited discovery, for the preceding 24
     months, including copies of all documents and records in such person’s
     or entity’s possession, custody, or control relating or referring to:

           1. the names, addresses, and other contact information,
              including any and all associated email addresses, of any of the
              Restrained Parties;

           2. the nature of any of the Defendants’ operations, methods of
              payment, and transportation concerning the advertisement,
              offer for sale, or sale of JUUL-marked products or products
              advertised using the JUUL Marks;

           3. any financial accounts owned or controlled by any of the
              Restrained Parties, including such accounts residing with or
              under the control of any Payment Service (as defined above);

           4. the names and electronic and physical addresses of every
              owner and employee of each of the Restrained Parties; and

           5. any other documents concerning or relating to any of the
              Restrained Parties.

     E.    Alternative Service of Process

            Service of the Summons and Complaint and of this Order,
     together with copies of the papers in support thereof, shall be made on
     the following Defendants by delivering true copies thereof by email to
     2632519261@qq.com, 3326632399@qq.com, and yky940519@sina.com,
     and such service shall be deemed sufficient: (1) Andy Chou (aka Lizhi
     Zhou); (2) Yiwu Cute Jewelry Co., Ltd.; (3) Defendant Yiwu Xite


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     Jewelry Co., Ltd.; and (4) Yiwu Promotional Trade Co., Ltd. (aka Yiwu
     Promotion Trade Co., Ltd.).

        IT IS SO ORDERED.



      Date: April 13, 2021                          ___________________________
                                                    Dale S. Fischer
                                                    United States District Judge



     Docketed and served by email on April 13, 2021 at 9:30 a.m.




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